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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      MARSHALL DIVISION

 ENTROPIC COMMUNICATIONS, LLC,                     §
                                                   §
                Plaintiff,                         §
                                                   §
 v.                                                §       CIVIL ACTION NO. 2:22-CV-00125-JRG
                                                   §
 CHARTER COMMUNICATIONS, INC.,                     §
                                                   §
                Defendants.                        §


                                REPORT AND RECOMENDATION


           Before the Court is Plaintiff Entropic Communications, LLC’s (“Entropic”) Motion For

Summary Judgment of No License Defense Based on DOCSIS (Dkt. No. 177.) After

consideration, the Court recommends the motion be DENIED-IN-PART and GRANTED-IN-

PART as provided below.


      I.      BACKGROUND

           Entropic Communications, LLC (“Entropic”) filed its initial complaint on April 27, 2022

asserting Charter infringes U.S. Patent Nos. 8,223,775 (the “’775 Patent”), 8,284,690 (the “’690

Patent”), 8,792,008 (the “’008 Patent”), 9,210,362 (the “’362 Patent”), 9,825,826 (the “’826

Patent”), and 10,135,682 (the “’682 Patent”) (collectively “the Asserted Patents”). (Dkt. No. 1 at

¶1.)

           The Asserted Patents broadly relate to data transmission over cable. (See generally Dkt.

No. 1.) The international telecommunications industry has developed a related standard as the Data

Over Cable Service Interface Specification, known as the DOCSIS Standard. (Dkt. No. 177 at 1




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(“Mot.”).) As part of this standard process DOCSIS members have provided free licenses to

technologies needing to conform with the DOCSIS Standard. (Id.)

   II.      APPLICABLE LAW

         Summary judgment should be granted “if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a). Any evidence must be viewed in the light most favorable to the nonmovant. See Anderson

v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986) (citing Adickes v. S.H. Kress & Co., 398 U.S. 144,

158–59 (1970)). Summary judgment is proper when there is no genuine dispute of material fact.

Celotex v. Catrett, 477 U.S. 317, 322 (1986). “By its very terms, this standard provides that the

mere existence of some alleged factual dispute between the parties will not defeat an otherwise

properly supported motion for summary judgment; the requirement is that there be no genuine

[dispute] of material fact.” Anderson, 477 U.S. at 247–48. The substantive law identifies the

material facts, and disputes over facts that are irrelevant or unnecessary will not defeat a motion

for summary judgment. Id. at 248. A dispute about a material fact is “genuine” when the evidence

is “such that a reasonable jury could return a verdict for the nonmoving party.” Id.

         The moving party must identify the basis for granting summary judgment and evidence

demonstrating the absence of a genuine dispute of material fact. Celotex, 477 U.S. at 323. “If the

moving party does not have the ultimate burden of persuasion at trial, the party ‘must either

produce evidence negating an essential element of the nonmoving party’s claim or defense or show

that the nonmoving party does not have enough evidence of an essential element to carry its

ultimate burden of persuasion at trial.’” Intellectual Ventures I LLC v. T Mobile USA, Inc., No.

2:17-CV-00577-JRG, 2018 WL 5809267, at *1 (E.D. Tex. Nov. 6, 2018) (quoting Nissan Fire &

Marine Ins. Co., Ltd. v. Fritz Cos., Inc., 210 F.3d 1099, 1102 (9th Cir. 2000)).



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             A. CONTRACT INTERPRETATION UNDER NEW YORK LAW

          Contract interpretation is a question of state law. Molon Motor & Coil Corp. v. Nidec Motor

Corp., 946 F.3d 1354, 1358 (Fed. Cir. 2020). Here the DOCSIS License’s choice of law provision

dictates that New York law applies. (Dkt. No. 177-2 at §9.4.) “In interpreting a contract under New

York law, ‘words and phrases ... should be given their plain meaning,’ and the contract ‘should be

construed so as to give full meaning and effect to all of its provisions.’” LaSalle Bank Nat. Ass'n

v. Nomura Asset Cap. Corp., 424 F.3d 195, 206 (2d Cir. 2005) (citing Shaw Group, Inc. v.

Triplefine Int'l Corp., 322 F.3d 115, 121 (2d Cir. 2003)). “[I]f a contract is straightforward and

unambiguous, its interpretation presents a question of law for the court. . . [only] when the meaning

of the contract is ambiguous . . . [is] a question of fact presented.” Id.

   III.      ANALYSIS

          The parties present two issues to the Court regarding application of a “Data Over Cable

Service Interface Specifications License Agreement” (the “DOCSIS License”). First, the parties

dispute what the DOCSIS License means by “Licensed Technology.” And second, the parties

dispute whether Charter has plausibly shown any of the Asserted Patents fall within that meaning.

             A. CONTRACT INTERPRETATION

          At issue is the clause defining “Licensed Technology” which dictates what patents the

license covers. The DOCSIS License provides “Licensed Technology” “means . . . patents, all

issued patents, pending applications and subsequently filed applications essential for compliance

with the Specifications and any patented inventions described in the Specifications.” (Dkt. No.

177-2 at §1.2.)

          Entropic argues this language requires a limitation-by-limitation analysis of each claim

Charter believes to be covered by the DOCSIS License. (Mot. at 4-5.) Charter counters first that it



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only needs to show the DOCSIS License applies to the patent, not the particular asserted claim.

(Opp. at 5-8.) Charter also counters that the contract is ambiguous and thus a question of fact which

precludes granting the instant motion. (Opp. at 8-9.)

       Central to Entropic’s argument is that the question here of essentiality to the DOCSIS

standard is the same as that of infringement. (Reply at 1-3.) Entropic first argues “the question of

whether a patent is ‘essential’ to a standard is one of substantive patent law” not contract

interpretation. (Id. at 1). Entropic cites Godo Kaisha IP Bridge 1 v. TCL Commc’n Tech. Holding

Ltd. and other Federal Circuit precedent, to suggest the essentiality issue here “requires comparing

the standard to each of the claim elements, just like infringement.” (Id. at 2).

       Charter first argues that the “all issued patents” language of the DOCSIS License suggests

it applies on a patent-by-patent basis, not a claim-by-claim basis. (Opp. at 8.) Charter next argues

that Entropic’s interpretation of the two definitions of “Licensed Technology” is not consistent

with giving the full meaning to the language used. (Id. at 8-9.) Charter contends that under the

second meaning, “any patented inventions described in the Specifications,” “[f]or an invention to

be ‘described’ in a DOCSIS Specification, one would need to show support for each claim

limitation on an element-by-element basis.” (Id. citing Ariad Pharms., Inc. v. Eli Lilly & Co., 598

F.3d 1336, 1353 (Fed. Cir. 2010).) Charter argues that an interpretation of the first meaning to

require an element-by-element analysis would render the second meaning superfluous. (Id. at 9.)

       The Court recommends finding the essentiality clause applies on a patent-by-patent basis

requiring an element-by-element analysis of at least one claim.

       First, Entropic is incorrect that the essentiality infringement analysis governs the

application of a DOCSIS License. In Godo Kaisha IP Bridge 1 v. TCL Commc’n Tech. Holding

Ltd., the Federal Circuit reaffirmed its prior ruling that infringement may be shown through



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standard compliance. 967 F.3d 1380, 1383 (Fed. Cir. 2020). It explained where “an accused

product operates in accordance with a standard, then comparing the claims to that standard is the

same as comparing the claims to the accused product.” Id. (citing Fujitsu Ltd. v. Netgear Inc., 620

F.3d 1321, 1326 (Fed. Cir. 2010)). The Federal Circuit in Ericsson, Inc. v. D-Link Sys., Inc.

explained it is “[b]ecause the standard requires that devices utilize specific technology [that]

compliant devices necessarily infringe certain claims in patents that cover technology incorporated

into the standard.” 773 F.3d 1201, 1209 (Fed. Cir. 2014). It is not essentiality that requires a claim-

by-claim analysis but infringement, essentiality merely provides the link between a patent and the

standard.

       The use of “patents, all issued patents, pending applications and subsequently filed

applications,” (Dkt. No. 177-2 at §1.2.), in defining “Licensed Technology” rules here. A claim-

by-claim analysis requirement would replace “patents, all issued patents, pending applications and

subsequently filed applications” with “all claims.” As the grant provides that “patents” and

“applications” define the “Licensed Technology” not “claims” the Court must give this meaning.

       However, the Court disagrees with Charter that its burden can be satisfied without an

element-by-element analysis of at least one claim. (See Opp at 8-9.) Charter’s argument that there

is ambiguity of the first meaning of “Licensed Technology” in light of the second meaning is not

convincing. Charter misconstrues the function of “described” here. “Described” relates to the

contents of the DOCSIS Specifications, not a written description analysis of the patent as Charter

suggests, (Opp. at 9). The phrase “patented invention” itself mandates an element-by-element

analysis of at least one claim as it is the claims that describe the scope of the patented invention.

See Phillips v. AWH Corp., 415 F.3d 1303, 1312 (Fed.Cir.2005) (en banc ). Thus “any patented

inventions described in the Specifications” is best understood to require an element-by-element



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analysis of the claims against the DOCSIS Specification. Because the first meaning relates to what

is “essential for compliance” with the DOCSIS Specifications rather than what is merely described

by the Specifications, an element-by-element analysis requirement for both meanings does not

leave the latter “without force and effect.”

           B. THE SUFFICIENCY OF CHARTER’S SHOWING

                    i. The ’775 and ’362 Patents

       Entropic argues that Charter’s expert does not offer the opinion that the asserted claims of

the ’775 or ’362 Patents are essential. (Mot. at 8.) Charter does not contest this or indeed assert the

’775 or ’362 Patents are covered by the DOCSIS License. (See Dkt. No. 333 at 2.) As such, the

question whether the ’775 and ’362 Patents are covered by the DOCSIS License is not in

controversy. The Court recommends that Entropic’s motion be DENIED AS MOOT as to the

’775 and ’362 Patents.

                   ii. The ’690 Patent

       Entropic argues that Charter’s expert opines exclusively as to claim 1 of the ’690 Patent

which it does not currently assert. (Mot. at 9.) Entropic argues this opinion cannot support the

conclusion that the asserted claims of the ’690 Patent are licensed based on its argument that the

DOCSIS License applies on a claim-by-claim basis. (Id.)

       Because, as noted above, the DOCSIS License applies on a patent-by-patent basis, the

Court disagrees with Entropic. The Court recommends that Entropic’s motion be DENIED as to

the ’690 Patent.

                   iii. The ’008 and ’826 Patents

       Entropic argues that Charter failed to support its contention that the ’008 and ’826 Patents

are covered by the DOCSIS License. (Mot. at 6-7.) Entropic argues Charter failed to address



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certain elements of claim 1, other asserted claims entirely, and Charter’s license argument is

incompatible with its discussion of full band capture (“FBC”). (Id.)

       Regarding the first point, Entropic argues that Charter fails to address the elements “a data

processor operable to process a television channel to recover content carried on the television

channel” and “a channelizer operable to:. . .concurrently output said first portion of said digitized

signal to said signal monitor and said second portion of said digitized signal to said data processor”

of the ’008 Patent and “selecting a second portion of said digitized signal” and “processing said

selected second portion of said digitized signal to recover information carried in said plurality of

channels.” (Mot. at 6.)

       Charter responds by arguing that both patents require the use of FBC as the basis of

Entropic’s infringement contentions and FBC is incorporated in DOCSIS. (Opp. at 12.) Charter

argues “[w]ithout the right to use FBC . . . [it] would not be able to use or comply with this portion

of DOCSIS.” (Id.)

       Charter’s argument here misses the mark. It cannot show what is “essential for compliance”

by showing that something that is essential for compliance is also essential to practice the claims.

This appears to be what Charter argues here, that because FBC is essential to the ’008 and ’826

Patents and to compliance with DOCSIS, the patents are likewise essential to DOCSIS. But

“essential for compliance with the Specification” cannot be proven solely by showing a common

element is essential for both the patent and the standard.

       Rather, Charter’ argument does not directly respond to Entropic’s citation of missing

elements. (See Opp. at 12.). Indeed, turning to the portion of Charter’s expert report that it cites to

show the ’008 and ’826 Patents are licensed, shows that while some limitations are clearly

addressed others, including those cited by Entropic, are not. (See Dkt. 177-5 at ¶¶48-61.) Without



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showing all elements of a claim are required for compliance with the DOCSIS standard, Charter

has not shown the ’008 and ’826 Patents are licensed. Entropic’s motion should thus be

GRANTED as to the ’008 and ’826 Patents.

       While the missing elements argument is sufficient to decide this motion, the Court also

quickly addresses Entropic’s other arguments. First, Charter’s failure to address other claims is not

dispositive since the DOCSIS License applies on a patent-by-patent basis. Second, Charter

clarifies there is nothing inconsistent with its position regarding FBC. Charter does not argue FBC

is optional to practice the DOCSIS specification, rather it argues that its use of the FBC is optional,

i.e. its cable modems only optionally practice the DOCSIS standard. (Opp. at 13.) At best this

would create a question of fact, not grounds to grant Entropic’s motion.

                   iv. The ’682 Patent

       Entropic argues Charter failed to support its contention that the ’682 Patent is covered by

the DOCSIS License. (Mot. at 7-8.) Entropic argues that Charter failed to address certain elements

of claim 1, that Charter addressed a technical report outside of the Specifications not the

Specifications themselves, and Charter’s license argument is incompatible with its discussion of

Profile management Application (“PMA”).

       Regarding the first argument, Entropic argues that Charter fails to address the elements

“generating, by said CMTS for each one of said plurality of service groups, a composite SNR-

related metric based at least in part on a worst-case SNR profile of said SNR-related metrics

corresponding to said one of said plurality of service groups” and “selecting, by said CMTS, one

or more physical layer communication parameter to be used for communicating with said one of

said plurality of service groups based on said composite SNR-related metric” of claim 1.




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         Charter responds that Entropic asserts Charter’s use of PMA infringes the ’682 Patent and

relies on the PMA to assert infringement of every element. (Opp. at 14.) Charter argues Entropic’s

reliance on “the DOCSIS-specified PMA feature to prove infringement” defeats Entropic’s instant

motion. (Id.)

         Again, Charter’s argument does not directly contest the elements Entropic claims are

missing. Pointing to Entropic’s infringement arguments does not rescue Charter’s own showing.

The relevant portions of Charter’s expert report fail to address the elements cited by Entropic. (See

Dkt. No. 177-5 at ¶¶66-73) As such, the Court recommends that Entropic’s motion be GRANTED

as to the ’682 Patent.

         While the missing elements argument is sufficient to decide this motion, the Court also

quickly addresses Entropic’s other arguments. First, it is a question of fact whether the technical

report Charter relied upon is part of the DOCSIS Specification or not. Second, Charter clarifies

there is nothing inconsistent with its position regarding PMA. Charter does not argue PMA is

optional to practice the DOCSIS specification, rather it argues that its use of the PMA is optional,

i.e. its cable modems only optionally practice the DOCSIS standard. (Opp. at 13.) Even if Charter’s

arguments were incompatible, this would be a question of fact for the jury.

   IV.      CONCLUSION

         The Court recommends Entropic’s summary judgment motion be GRANTED as to the

’008, ’682, and ’826 Patents, DENIED as to the ’690 Patent, and DENIED AS MOOT as to the

’775 and ’362 Patents.

         A party’s failure to file written objections to the findings, conclusions and

recommendations contained in this report by not later than December 7, 2023, bars that party

from de novo review by the District Judge of those findings, conclusions, and recommendations



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and, except on grounds of plain error, from appellate review of unobjected-to factual findings and

legal conclusions accepted and adopted by the district court. FED. R. CIV. P. 72(b)(2); see also

Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415, 1428–29 (5th Cir. 1996) (en banc). Any

objection to this Report and Recommendation must be filed in ECF under the event “Objection to

Report and Recommendation [cv, respoth]” or it may not be considered by the District Judge.
        SIGNED this 3rd day of January, 2012.
        SIGNED this 28th day of November, 2023.




                                                     ____________________________________
                                                     ROY S. PAYNE
                                                     UNITED STATES MAGISTRATE JUDGE




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